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                                                                                          (SPACE BELOW FOR FILING STAMP ONLY)

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           5
                       SALVADOR GUTIERREZ MACHUCA
           6

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           8                                UNITED STATES DISTRICT COURT

           9                              EASTERN DISTRICT OF CALIFORNIA

          10                                                ******

          11    UNITED STATE OF AMERICA,                           Case No.: 1:09CR0339 OWW

          12                       Plaintiff,                      NOTICE OF REQUEST AND REQUEST
                                                                   TO SEAL DOCUMENTS AND ORDER
          13               v.                                      THEREON

          14    SALVADOR GUTIERREZ MACHUCA,
                                                                           (U.S.D.C. LOCAL RULES 141)
          15                       Defendant.
          16

          17    TO:    THE HONORABLE OLIVER W. WANGER, UNITED STATES DISTRICT
                       COURT JUDGE AND TO THE UNITED STATES ATTORNEY’S OFFICE, BY
          18           AND THROUGH ITS REPRESENTATIVE KAREN ESCOBAR, ASSISTANT
                       UNITED STATES ATTORNEY, AND TO UNITED STATES PROBATION
          19
                       OFFICER ROSS MICHELI:
          20

          21           Defendant SALVADOR GUTIERREZ MACHUCA (“MACHUCA”), by and through

          22    his counsel, Roger D. Wilson of Nuttall Coleman & Wilson, hereby request that the Sentencing

          23    Memorandum be filed under seal with the Court.

          24           The reason for this request is the circumstances attendant to the Plea Agreement with

          25    the Government with regard to Section 5K1.1 and the prospective benefits to the Defendant.

          26    The Sentencing Memorandum should remain confidential based upon the very sensitive issues

          27    which exist attendant to this co-defendant case. It is for this reason that counsel requests that

          28    the Sentencing Memorandum be filed under seal.
                                                                 1
                                NOTICE OF REQUEST AND REQUEST TO SEAL DOCUMENTS AND ORDER THEREON
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                  Case 1:09-cr-00339-LJO Document 120 Filed 07/28/11 Page 2 of 2
            1         The names permitted to have access to this document shall be the Office of the United

            2   States Attorney, as well as the United States Probation Office.

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            4
                       DATED: July 25, 2011                  Respectfully submitted.
            5
                                                             NUTTALL COLEMAN & WILSON
            6
                                                       BY:    /s/ Roger D. Wilson
            7                                                ROGER D. WILSON
                                                             Attorneys for Defendant
            8
                                                             SALVADOR GUTIERREZ MACHUCA
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           10

           11                                          ***************

           12                                            ORDER
           13

           14        Good cause appearing,

           15        IT IS SO ORDERED that the Sentencing documents be filed under seal.

           16        DATED: July 27, 2011.

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                                                           _/s/ OLIVER W. WANGER__
           19                                                 OLIVER W. WANGER
                                                              Judge, United States District Court
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                               NOTICE OF REQUEST AND REQUEST TO SEAL DOCUMENTS AND ORDER THEREON
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